






No. 04-02-00017-CV



IN RE KM DEVELOPMENT CORP.



Original Mandamus Proceeding (1)



PER CURIAM


Sitting:	Alma L. López, Justice

		Catherine Stone, Justice

		Sarah B. Duncan, Justice


Delivered and Filed:   January 16, 2002


PETITION FOR WRIT OF MANDAMUS DENIED; MOTION FOR EMERGENCY RELIEF
DENIED


	The court has considered relator's petition for writ of mandamus and motion for emergency
relief, and is of the opinion that relief should be denied. See Tex. R. App. P. 52.8(a). Accordingly,
relator's petition for writ of mandamus and motion for emergency relief are denied.

	Relator shall pay all costs incurred in this proceeding.

	The clerk of this court is directed to transmit a copy of this opinion to the attorneys of record,
the trial court judge, and the trial court clerk.

							PER CURIAM

Do not publish



1.  This proceeding arises out of Cause No. 1999-CI-13043, styled Aranda, et al. v. G.E. Reaves Engineering,
Inc., et al., pending in the 57th Judicial District Court, Bexar County, Texas, the Honorable Phylis Speedlin presiding.


